               Case 2:20-cv-01831-JCC Document 16 Filed 11/09/21 Page 1 of 1




                                                        THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    LIBERTY SURPLUS INSURANCE                             CASE NO. C20-1831-JCC
      CORPORATION,
10
                                                            MINUTE ORDER
11                            Plaintiff,
              v.
12
      HOUSTON SPECIALTY INSURANCE
13    COMPANY,
14                            Defendant.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court on the parties’ stipulated motion to amend the
19   complaint (Dkt. No. 14). The parties seek leave to add Liberty Insurance Underwriters Inc. as a
20   party plaintiff. (Id. at 1.) They indicate that the “substance and nature of the allegations and
21   causes of action” will not change. (Id.) The motion is GRANTED. Plaintiff may file an amended
22   complaint reflecting these changes by November 12, 2021.
23          DATED this 9th day of November 2021.
24                                                            Ravi Subramanian
                                                              Clerk of Court
25
                                                              s/Sandra Rawski
26                                                            Deputy Clerk


     MINUTE ORDER
     C20-1831-JCC
     PAGE - 1
